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EXHIBIT A
Case 1:24-cv-12400-FDS Document25-1 Filed 01/07/25

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Prime Hydration LLC
7201 Intermodal Drive STE A
Louisville, KY 40258

618-593-9857
Purchase Order
Purchase Order: PH-AGR-24001-7068 PO Date 8/21/2023
Work Order: PH-AGR-24001 Need By Date Multiple - Details Below
Vendor Info Ship To
Name Agrovana Business Name Multiple Locations
Contact __ Tim Panagopoulos Contact Layla Pezzullo
Number ___"u.a(Pasrovaonuscoe Address Jguin@econsobrands.com
617.719.0656 Hallie Streib - 502.671.9606
hallle.strelb@congobrands.com
Product Description Quantity UOM Shipping Date Other Description Unit Cost Line Total
Coconut Water Powder - Fluorocess Aayush 350,000 kg TBD - January PH-CCNPWD-04 $ 7.700 § 2,695,000.00
Coconut Water Powder - Fluorocess Aayush 350,000 kg TBD - February PH-CCNPWD-04 $ 7.700 § 2,695,000.00
Coconut Water Powder - Fluorocess Aayush 350,000 kg TBD - March PH-CCNPWD-04 $ 7.700 § 2,695,000.00
Coconut Water Powder - Fluorocess Aayush 350,000 ke TBD - April PH-CCNPWD-04 $ 7.700 $ 2,695,000.00
Coconut Water Powder - Fluorocess Aayush 350,000 ke TBD - May PH-CCNPWD-04 $ 7.700 § 2,695,000.00
Coconut Water Powder - Fluerocess Aayush 350,000 kg TBD - June PH-CCNPWD-04 $ 7.700 $ 2,695,000.00
Other PO Notes Subtotal §  16,170,000.00

Price inclusive of transportation to OL India - OL Logistics to arrange air or ocean freight to US co packer(s)

1H '24 Fluorocess Aayush CWP Volume - 25 FCLs per month (January, February, March, April, May, June)

**Placeholder POs to be confirmed 90 days prior to each need by date**

Approved By Name Wyatt Bryant
Approved by Title Director, External Manufacturing
Approved By Signature Wyatt Bryant

*Please send all invoices to Accounting@DrinkPrime.com and Ryan@DrinkPrime.com.

Tax 0
Total $ —_16,170,000.00
Case 1:24-cv-12400-FDS Document 25-1 Filed 01/07/25 Page 3of3

Prime Hydration LLC

7201 Intermodal Drive STE A
Louisville, KY 40258

618-593 -9867

Purchase Order

Purchase Order: PH- Ag R2 001-7067 PO Date 8/21/2023
Work Order: PH- AG-2 401 Need By Date Multiple - Details Below
dor Info Ship To
Name Agravana Business Name TBD
Contact Tim Panagopoulos Contact Brooke Boothby - 630.277.7060
Number yoyyPonovangubcer Address _ bios. posthwe@cooaeersne eats
617.719.0656 Hallie Streib - 502.671.9606
hallle steaib@congobrands.com
Product Description Quantity UOM Shipping Date Other Description Unit Cost Line Total
Coconut Water Powder - Fluorocess Nutravedic 350,000 kg TBD - January PH-CCNPWD-03 $ 7.700 $ 2,695,000.00
Coconut Water Powder - Fluorocess Nutravedic 350,000 kg TBD - February PH-CCNPWD-03 $ 7.700 $  2,695,000.000
Coconut Water Powder - Fluorocess Nutravedic 350,000 kg TBD - March PH-CCNPWD-03 $ 7.700 $ 2,695,000.000
Coconut Water Powder - Fluorocess Nutravedic 350,000 kg TBD - April PH-CCNPWD-03 $ 7.700 $ 2,695,000.000
Coconut Water Powder - Fiuorocess Nutravedic 350,000 kg TBD - May PH-CCNPWD-03 $ 7.700 § 2,695,000.000
Coconut Water Powder - Fluorocess Nutravedic 350,000 kg TBD - June PH-CCNPWD-03 $ 7.700 $ 2,695,000.000
Other PO Notes Subtotal $ 16,170,000.00
Price inclusive of transportation to OL India - OL Logistics to arrange air or ocean freight to US co packer(s) Tax G

Total $ — 16,170,000.00
H1 '24 Fluorocess Nutravedic CWP Volume - 25 FCLs per month SS

**Pigceholder POs to be confirmed 90 days prior to each need by date**

Approved By Name Wyatt Bryant
Approved by Title Dire ¢or, Eternal Nanufacturing

Approved By Signature

“Please send all invoices to Accounting@DrinkPrime.com and Ryan@DrinkPrime.com.
